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AO 106(Rev. 04/010) Application for Search Warrant                AUTHORIZED AND APPROVED/DATE:



                                         United States District Court
                                                                  for the
                            WESTERN                           DISTRICT OF                           OKLAHOMA

               In the Matter of the Search of
           (Briefly describe the property to be search
           Or identify the person by name and address)
           INFORMATION ASSOCIATED WITH:                                        Case No: M-20-
           Tviross28@,gmaiLcom
           THAT IS STORED AT PREMISES
           CONTROLLED BY:
           Google LLC
           1600 Amphitheatre Parkway
                                                                                                    CARMELITA REEDER SHiNN, CLERK
           Mountain View, CA 94043
                                                                                                   U.S. DIST. COURT WESTERN DIST. OKLA.
                                                                                                   PY                   ,      nFPHTY
                                                  APPLICATION FOR SEARCH WARRANT


        I, a federal law enforcement officer or attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following Property (identify the person or describe property to
be searched and give its location):

           See Attachment A, which is attached and incorporated by reference.

Located in the Western District of Oklahoma, there is now concealed {identify the person or describe the property to be
seized):

           See Attachment B, which is attached and incorporated by reference

           The basis for the search under Fed. R. Crim.P.4I(c) \s.{check one or more):
              K      evidence of the crime;
                K        contraband, fruits of crime, or other items illegally possessed;
                S        property designed for use, intended for use, or used in committing a crime;
                □        a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
           Code Section                                                            Offense Description
           18 U.S.C. § 2252                                                        Distribution of child pornography
           18 U.S.C. § 2252A                                                       Possession of child pornography

The application is based on these facts:

See attached Affidavit of Special Agent Ryder Burpo, HSI, which is incorporated by reference herein.

                 El      Continued on the attached sheet(s).
                 □       Delayed notice of [No. of Days] days (give exact ending date if more than 30 days) is requested under 18
U.S.C. § 3103a, the basis of which is set forth on the attached sheet(s).


                                                                                       ^ Applicant s signature
                                                                     RYDER BURPO
                                                                     SPECIAL AGENT
                                                                     HSI
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Sworn to before me and signed in my presence.


Date:
                                                                  Judge's signature


City and State: Oklahoma Citv. Oklahoma         SHON T. ERWIN. U.S. Magistrate Judge
                                                                Printed name and title
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF OKLAHOMA

                                  AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR A SEARCH WARRANT

    I, Ryder Burpo, a Special Agent with Homeland Security Investigations, being duly swom,

depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application for a search warrant for

information associated with certain accounts that is stored at premises controlled by Google LLC,

an email provider headquartered at 1600 Amphitheatre Parkway, Mountain View,CA 94043. The

information to be searched is described in the following paragraphs and in Attachment A. This

affidavit is made in support of an application for a search warrant under 18 U.S.C. §§ 2703(a),

2703(b)(1)(A) and 2703(c)(1)(A) to require Google LLC (Google) to disclose to the government

copies of the information (including the content of communications)further described in Section

I of Attachment B. Upon receipt of the information described in Section I of Attachment B,

government-authorized persons will review that information to locate the items described in

Section II of Attachment B.


       2.      I have been employed as a Special Agent of the U.S. Department of Homeland

Security, Homeland Security Investigations(HSI)since June 2019, and am currently assigned to

Oklahoma City, Oklahoma. While employed by HSI, I have investigated federal criminal

violations related to high technology or cybercrime, child exploitation, and child pornography. I

have gained experience through training at the Federal Law Enforcement Training Center

Criminal Investigation Training Program and Homeland Security Investigations Special Agent

Training, and everyday work relating to conducting these types of investigations. I have
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received training in the area of child pornography and child exploitation, and have had the

opportunity to observe and review numerous examples of child pornography(as defined in 18

U.S.C. § 2256)in all forms of media including computer media. I have access to the institutional

knowledge developed around this type of investigation by working with other experienced child

exploitation criminal investigators. Moreover, I am a federal law enforcement officer who is

engaged in enforcing the criminal laws, including 18 U.S.C. §§ 2252 and 2252A, and I am

authorized by law to request a search warrant.

        3.       This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

        4.       Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of 18 U.S.C. § 2252 and 2252A have been committed

by Tyler James ROSS using the email address tyjross28@gmail.com (the "SUBJECT

ACCOUNT"), which is described in Attachment A of this affidavit. There is also probable cause

to search the information described in Attachment A for evidence, instrumentalities, contraband,

and/or fiuits ofthese crimes further described in Attachment B.


                                            JURISDICTION


        5.      This Court has jurisdiction to issue the requested warrant because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court is "a district court of the United States ... that has jurisdiction

over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i).
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                                               PROBABLE CAUSE


                         Initiation of Investigation and Overview of"Website M"

         6.       In March 2012, HSI Phoenix initiated an investigation into a password-protected,

fee-based website, identified herein as "Website M,"' following an interview with a Website M

user("SI") in connection with a separate child exploitation investigation. SI allowed HSI agents

to assume Si's online identify on Website M and provided agents with Si's usemame and

password.^

         7.       A user can only locate and access Website M if the user knows its current web

address. Once the user enters the correct web address, a box appears that requires the user to enter

a "user name" and "password." The user cannot access the site without first entering that

information. Once the user enters a valid usemame and password. Website M's home page

appears. The opening page depicts nude anime children (i.e., drawings, sketches or cartoons)

lasciviously exhibiting their genitals. The term "Private Club" also appears on the home page.

         8.       After gaining access to Website M by using Si's usemame and login, HSI Phoenix

agents determined that it advertises files of child pomography for purchase. Once logged in as a

member, the user sees the names of folders available for purchase, which contain previews or

samples of images contained in the folders. As of March 2012, the website advertised that it

offered 600,000 images and 400 hours of video. Such images and videos are organized into




' Law enforcement knows the actual name of Website M. However, the investigation into users of Website M
remains ongoing, and public disclosure of Website M's actual name would potentially alert its members to the
investigation, likely provoking members to notify other members of the investigation, to flee, and/or to destroy
evidence. Accordingly, to preserve the confidentiality and integrity ofthe ongoing investigation, the actual name and
other identifying details of Website M remain undisclosed in this affidavit.
^    SI provided SAs with the web address for Website M and Si's login information to Website M but SI has not
provided sufficient information to law enforcement to understand how SI originally obtained the web address or login
information for Website M.
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folders, the contents of which can be accessed after downloading them by purchasing a password.

At all times relevant to this investigation. Website M hosted its content on a server physically

located outside of the United States.

         9.       Throughout HSI's investigation. Website M has typically charged between $40

USD and $110 USD to purchase the password for encrypted archive files containing multiple

images and/or videos of child pornography and child erotica. The majority of archive files cost

$89 USD.^ Once downloaded, the user can "decrypt" the selected archive file by entering in the

purchased password to reveal multiple images and/or video files. Phoenix HSI Special Agents

have made undercover purchases or accessed several archive files available for purchase revealing

that most of the archive files contained between 500 and 2,000 image and/or video files, and the

majority of which are child pornography.

         10.      HSI agents also found that Website M allows members to preview samples of the

images/videos contained in an archive folder prior to purchase. HSI agents visited Website M and

previewed more than 100 sample folders. Agents found that the majority ofthe images and videos

found in the sample or preview folders depicted apparent minors, and many depicted what

appeared to be pre-pubescent minors engaged in sexual activity with adults and/or posed in a

sexually explicit manner.

         11.      Over the course oftheir investigation, which has involved previewing samples and

then downloading multiple archive files via Website M, HSI agents have found that the sample




'    A digital archive file is used to store multiple files within a single, compressed file, which can make it easier to
store and transmit numerous files at the same time. File extensions associated with digital archive files include ".rar"
and ".zip."
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images and/or video screenshots corresponded to the full sets of image and video files contained

in downloaded archive files.


       12.     After selecting an archive file for purchase, the member pays for its password via

credit card. Website M then automatically sends an email to the member with the encryption

password for the archive. The member must first download the archive file to a digital device and

enter that password to decrypt and de-compress it.

       Undercover Purchases Confirmed "Website M"Sells Child Exploitative Material

       13.     As noted above, HSI obtained membership information to Website M via a

consensual takeover of Si's account. Between April 2014 and May 2017, HSI agents made

multiple undercover purchases of archive files from Website M.

       14.     For example, in April 2014, HSI agents (posing as SI) successfully downloaded

archive files from Website M. Review of the de-compressed image files, based upon an analysis

of hash values, determined that the purchased files included video and image files from a series of

images that the National Center for Missing and Exploited Children has identified and verified to

depict a pre-pubescent minor child who appears to be less than ten years of age. Purchased files

included the following: 'T80-2.AVI 9Yo Jenny licked by dog. 16min./with sound." The

screenshot for this video depicts a nude, blindfolded, prepubescent female who appears to be less

than ten years of age lying on her back while a dog licks her genitals. Over twenty additional

pictures from the same series were included, such as an image of the same nude prepubescent

female performing fellatio on a dog.

                               Financial Records Linked to Website M


       15.     On May 26, 2017, an HSI agent, working in an undercover capacity, purchased an

archive file from Website M titled "SIBERIAN MOUSE #36." This file was selected because it

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was listed on the opening page as being newly added (as of January 2017)and agents verified the

images within the sample folder contained images depicting apparent minors engaged in sexually

explicit conduct. When the HSI agent purchased the "SIBERIAN MOUSE #36" file, the agent

received a confirmation email from "TheScript Support" through a payment processor based in the

United States that stated,"Your order is currently being processed."

       16.     HSI agents investigated the link between the US-based payment processor and

Website M. HSI agents identified the U.S. company as both a payment processor and online

business management tool used by Website M.

       17.     On July 28, 2017, a U.S. magistrate judge in the United States District Court for

the District of Arizona issued a search warrant for the electronic data in the possession ofthe U.S.

payment processor related to their business transactions with and on behalf of Website M.

       18.     On August 11, 2017, the U.S. payment processor provided several spreadsheets in

compliance with the search warrant. One of the spreadsheets listed all the transactions the

company processed on behalf of Website M. This list included over 1,000 purchases made to

Website M.


    Identifying Tyler James ROSS as a Purchaser of Child Exploitative Material from Website M

       19.   In September 2017, HSI analyzed the U.S. payment processor records and

identified individuals who made multiple purchases from Website M.

       20.   The U.S. payment processor records indicate that Tyler ROSS made approximately

three(3) purchases from Website M between March 4, 2016 and October 3, 2016.

       21.   According to the U.S. payment processor records, the email address to which it sent

the auto-generated receipts and passwords for purchases made by ROSS on Website M was

Tviross28@gmail.com (the "SUSPECT EMAIL ADDRESS").

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       22. In response to a summons,the U.S. payment processor, provided the following

subscriber information associated with the two accounts associated with the Tyler ROSS

purchaser:

             First Name: Tyler

             Last Name: ROSS


             Email: Tviross28@gmail.com

             AKA: Joe Smith

             Address: 959 Cumberland Mansion, Yukon, Oklahoma 73099

                555 SW 9^^ Street, Oklahoma City, Oklahoma 73102

             Mobile Telephone Numbers:(405)819-4922;(559)228-8228

             Frequent IP Addresses: 68.229.195.45 ,70.215.215.215 ,70.215.195.73 ,and

             70.215.195.158


             Internet Subscriber Address: 2721 Lakeside Drive, Oklahoma City, Oklahoma 73120

             Internet Subscriber Name: Katherine Cunningham

             Address: 2721 Lakeside Drive, Oklahoma City, Oklahoma

             House Owner: Katherine Cunningham

       23.     In May 2017, the United States Department of Justice, through a letters rogatory,

formally requested assistance from the host nation of one of the Website M content servers. HSl

obtained records and content from the Website M content server.


       24.     On December 21, 2017, a U.S. magistrate judge in the United States District Court

for the District of Arizona issued a search and seizure warrant for the hard drive containing the

content ofthe Website M server. In March 2018, through a supplemental letters rogatory request,

HSl obtained an updated imaged copy of the server used to host Website M. A computer forensic
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agent verified that the server contained the content, specifically child pornography and child

exploitive material for Website M,specifically the folders purchased by ROSS. I reviewed files

indicated by the purchase records to have been purchased by ROSS, including each file from

ROSS' most recent purchases from October 3, 2016, and I found that the files contain images

depicting minors engaging in sexually explicit conduct.

       25. The forensic agent also located member usemames and emails.             He was able to

determine when members logged onto the website and what IP addresses were used by the

member. Website M content server records indicate that usemame "tyjross28" was found on the

server and that tyjross28 logged onto Website M over eighty five(85)times, including October 3,

2016 from IP address 68.229.195.45. Open source database checks revealed that IP address

68.229.195.45 has a geolocation in Oklahoma.

       26. In response to a summons. Cox Communications, Inc. (Cox) provided subscriber

information that indicates that IP 68.229.195.45 is assigned to Katherine Cunningham residing at

2721 Lakeside Drive, Oklahoma City, Oklahoma 73120.

       27.   The U.S. payment processor records indicate that on or about March 5, 2016 ROSS

purchased a password for an archive file with the billing code"AJAX SCRIPT 26." Records from

the Website M content server indicate that on March 5,2016 at approximately 16:13 hours(MDT)

tyjross28 logged into Website M from IP address 68.22.195.45.

       28.   In December 2018, HSI Oklahoma City received information from the HSI Phoenix

office indicating that the Internet Protocol (IP) address 68.229.195.45, was utilized, by a subject

using the email address of Tyjross28@gmail.com, to purchase child exploitative material from

Website M. On August 1, 2019, HSI Oklahoma City, served Cox Communications, Inc.(Cox)

with a Department of Homeland Security Summons, requesting the subscriber identity for the
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person who was assigned the IP address 68.229.195.45. On September 01, 2019, 1 received a

response from a Subpoena Specialist for Cox,indicating that the IP address(68.229.195.45) listed

in the HSl Summons,returned to Katherine Cunningham at 2721 Lakeside Drive, Oklahoma City,

Oklahoma 73120.


       29.   According to a check of open source databases Tyler James ROSS resided at 959

Cumberland Mansion Road, Yukon, Oklahoma 73099 until October 2018. At that point in time

ROSS appears to move to 218 28th Street Northwest, Oklahoma City, Oklahoma 73103 from

October 2018 to February 2019. Approximately March 2019 is when ROSS is listed as residing at

2721 Lakeside Drive, Oklahoma City, Oklahoma 73120. ROSS'recent driver's license renewal of

May 2020 currently lists 2721 Lakeside Drive, Oklahoma City, Oklahoma 73120 as his current

residence.


       30. In July of 2019, Homeland Security Investigations (HSl) Oklahoma City Office

received a tip from Oklahoma State Bureau of Investigation on behalf of the National Center for

Missing and Exploited Children(NCMEC). This tip was about the possession, manufacture, and

distribution of images of child pornography in the Google Photos account associated with

tyross28@gmail.com. This email account, tyjross28@gmail.com is registered to Tyler Ross

(ROSS). There were multiple instances from September 2018 through June 2019 of uploads

containing child exploitative material into the Google Photos infrastructure. There was a total of

fifty-three (53) files reported to Google and forwarded to NCMEC. Based on the cyber tipline

report received,a NCMEC staff member reviewed multiple files associated with the Google photos

account of tyjross28@gmail.com. A review of the reported files found there were multiple

instances of child pornography.
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              31.     The Internet Protocol(IP)address of68.229.195.45 was recorded as having multiple

       log in records to the Google Photos account of tyjross28@gmail.com. This IP address,

       68.229.195.45, was previously found to be registered to Katherine Cunningham at 2721 Lakeside

       Drive, Oklahoma City, Oklahoma 73120.

                Evidence That ROSS Downloaded Child Exploitive Material from Website M

              32.     Based upon the U.S. payment processor records, HSI generated the following list of

       purchases ROSS made via the U.S. payment processor from Website M along with identifying

       information linked to each purchase.

Date          File Purchased      First Name    Last Name        Phone           Email              Address


                                                                                                    959 Cumberland
                                                                                 Tyjross28@gmail.
03/04/2016    AJAX 19             Tyler         Ross             (405)819-4922                      Mansion, Yukon,
                                                                                 com

                                                                                                    OK 73099


                                                                                 Tyjross28@gmail.
03/22/2016    AJAX24              Joe           Smith            (559)228-8228
                                                                                 com



                                                                                                    959 Cumberland
                                                                                 Tyjross28@gmail.
03/05/2016    AJAX 26             Tyler         Ross             (405)819-4922                      Mansion, Yukon,
                                                                                 com

                                                                                                    OK 73099




              33. After obtaining ROSS' purchase history from the U.S. payment processor, an HSI

       Phoenix agent, in an undercover capacity, viewed "samples" from each file titled in the above

       purchase records. The previews were recorded using screen capture software available to law

       enforcement. I have reviewed previews from some ofthe files referenced in the table above that

       consist of images depicting minors engaging in sexually explicit conduct.

              34. Based on undercover purchases from Website M,HSI agents determined that the

       only way someone can view the full content of the archive file selected appears to be to: 1)

       download the archive file from the website; and 2)enter the password provided by the website,

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via email, after payment is verified. There does not appear to be any way to view the full content

offolders within the site itself, even with a purchased password.

       35.   Based on undercover purchases from Website M,the investigation, and my training

and experience, it appears that Website M generates a billing name for each archived file

available for purchase that corresponds with the name of a commonly purchased "script," in

order to disguise the actual contents of the file purchased from the payment processor or anyone

else who has access to the billing statement. Note that, in the chart above, almost all ofthe

purchases contain a title that includes the term "script." A script is computer code or software

that makes a computer run smoother and faster. Some examples are "PERL SCRIPT,""RUBY

SCRIPT," and "PHP SCRIPT." Website M named each of the archive files it sells so that it

would appear as if its Members purchased scripts instead of child pornography. The

investigation further revealed that Website M registered its business with the U.S. payment

processor under the name "The Scripts" in order to appear as a legitimate company.

       36. On March 22, 2016, ROSS purchased a password for an archive file with the

billing code "AJAX SCRIPT 24". HSI agents located an archive file on Website M titled

"AJAX SCRIPT 24". When HSI agents clicked on this archive file on Website M,the website

provided the following prompt at the bottom ofthe webpage "BUY NOW PASSWORD FOR

"AJAX SCRIPT 24". When HSI agents clicked on this prompt,the webpage displayed an option

to buy "AJAX SCRIPT 24" with an "Immediate License Code sent by Email."

       37. 1 reviewed a screen capture of the "samples" viewed from "AJAX SCRIPT 24". I

observed several "sample photos," including the image file described below:

       38.   "AJAX SCRIPT 24" contains a file folder labeled 24. Within the file folder labeled

24 there are approximately twelve (12)file folders labeled with female names. In the file folder
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labeled "Angel" there are approximately 51 images. In the file folder labeled "Angel" there is an

image labeled "Mvc-008s-for_me.jpeg". This image depicts a Caucasian pre-pubescent female

with one of her hands grasping a Caucasian adult male's erect penis. The child victim's mouth

was on the adult male's penis as the female looks upward.

       39.    As a second example on March 5, 2016, ROSS purchased an archive file with the

billing code "AJAX SCRIPT 26." HSI agents located an archive on Website M titled "AJAX

SCRIPT 26." When agents clicked on this archive file on Website M,the webpage displayed an

option to buy "AJAX SCRIPT 26." with an "Immediate License Code sent by Email."

       40. I reviewed the screen capture ofthe "samples" viewed from "AJAX SCRIPT 26."

file. I observed multiple "sample photos," including the image file described below.

       41.    "AJAX SCRIPT 26" contains 27 file folders labeled various things. One of those

file folders is labeled "4yo Melinda." Within the file folder labeled "4yo Melinda" there are 106

images. One ofthe images is labeled "melinda44.jpeg." This image depicts a Caucasian pre-

pubescent, under 6 years old, female with the focal point of the photo being on her genital area.

The child's genitals lacked pubescent hair development. An adult Caucasian male was

penetrating the anus of the child with his erect penis.

       42.   On September 7, 2018, an HSI intelligence research specialist sent a preservation

request to Google requesting that the contents of the SUBJECT ACCOUNTS be preserved. On

June 2, 2020,1 sent another preservation request to Google requesting that the contents of the

SUBJECT ACCOUNTS be preserved.

                            BACKGROUND CONCERNING EMAIL


       43. In my training and experience, I have learned that Google provides a variety of on

line services, including electronic mail("email") access, to the public. Google allows
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subscribers to obtain email accounts at the domain name Gmail.com, like the email accounts

listed in Attachment A. Subscribers obtain an account by registering with Google. During the

registration process, Google asks subscribers to provide basic personal information. Therefore,

the computers of Google are likely to contain stored electronic communications(including

retrieved and unretrieved email for Google subscribers) and information concerning subscribers

and their use of Google services, such as account access information, email transaction

information, and account application information. In my training and experience, such

information may constitute evidence ofthe crimes under investigation because the information

can be used to identify the account's user or users.

        44.    A Google subscriber can also store with the provider files in addition to emails,

such as address books, contact or buddy lists, calendar data, pictures (other than ones attached to

emails), and other files, on servers maintained and/or owned by Google. In my training and

experience, evidence of who was using an email account may be found in address books, contact

or buddy lists, email in the account, and attachments to emails, including pictures and files.

        45.   In my training and experience, email providers generally ask their subscribers to

provide certain personal identifying information when registering for an email account. Such

information can include the subscriber's full name, physical address, telephone numbers and

other identifiers, alternative email addresses, and, for paying subscribers, means and source of

payment(including any credit or bank account number). In my training and experience, such

information may constitute evidence ofthe crimes under investigation because the information

can be used to identify the account's user or users. Based on my training and my experience, I

know that, even if subscribers insert false information to conceal their identity, this information

often provides clues to their identity, location, or illicit activities.
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       46. In my training and experience, email providers typically retain certain transactional

information about the creation and use of each account on their systems. This information can

include the date on which the account was created, the length of service, records of log-in (i.e.,

session) times and durations, the types of service utilized, the status of the account(including

whether the account is inactive or closed), the methods used to connect to the account(such as

logging into the account via the provider's website), and other log files that reflect usage of the

account. In addition, email providers often have records ofthe Internet Protocol address("IP

address") used to register the account and the IP addresses associated with particular logins to

the account. Because every device that connects to the Internet must use an IP address, IP

address information can help to identify which computers or other devices were used to access

the email account.


       47. In my training and experience, in some cases, email account users will

communicate directly with an email service provider about issues relating to the account, such as

technical problems, billing inquiries, or complaints from other users. Email providers typically

retain records about such communications, including records ofcontacts between the user and

the provider's support services, as well as records of any actions taken by the provider or user as

a result ofthe communications. In my training and experience, such information may constitute

evidence ofthe crimes under investigation because the information can be used to identify the

account's user or users.


       48.    As explained herein, information stored in connection with an email account may

provide crucial evidence ofthe "who, what, why, when, where, and how" ofthe criminal conduct

under investigation, thus enabling the United States to establish and prove each element or

alternatively, to exclude the innocent from further suspicion. In my training and experience, the
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information stored in connection with an email account can indicate who has used or controlled

the account. This "user attribution" evidence is analogous to the search for "indicia of

occupancy" while executing a search warrant at a residence. For example,email

communications, contact lists, and images sent(and the data associated with the foregoing, such

as date and time) may indicate who used or controlled the account at a relevant time. Further,

information maintained by the email provider can show how and when the account was accessed

or used. For example, as described below,email providers typically log the Internet Protocol

(IP) addresses from which users access the email account, along with the time and date of that

access. By determining the physical location associated with the logged IP addresses,

investigators can understand the chronological and geographic context of the email account

access and use relating to the crime under investigation. This geographic and timeline

information may tend to either inculpate or exculpate the account owner. Additionally,

information stored at the user's account may further indicate the geographic location ofthe

account user at a particular time (e.g., location information integrated into an image or video sent

via email). Last, stored electronic data may provide relevant insight into the email account

owner's state of mind as it relates to the offense under investigation. For example, information

in the email account may indicate the owner's motive and intent to commit a crime (e.g.,

communications relating to the crime), or consciousness of guilt (e.g., deleting communications

in an effort to conceal them from law enforcement).

       49.   In my training and experience, I have learned that an email that is sent to a Google

subscriber is stored in the subscriber's email mailbox on Google servers until the subscriber

deletes the email. If the subscriber does not delete the message, the message can remain on



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Google servers indefinitely. Even if the subscriber deletes the email, it may continue to be

available on Google's servers for a certain period of time.

       50. In my training and experience, I have learned that Google in addition to providing

email services provides other services associated with the email account such as photo storing

capabilities, known as Google Photos, online file hosting and synchronization services, known as

Google Drive, that are available to the public. While users may delete photos or files off their

account storage, it may still be available in Google's servers for a certain period of time.

       51.    Google provides fifteen (15) gigabytes of free storage to be shared across all

Google services. This storage includes Google email, Google photos, and Google drive.

                                         CONCLUSION


       52.    Based on the forgoing, I request that the Court issue the proposed search warrant.

Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not required for the

service or execution of this warrant. The government will execute this warrant by serving the

warrant on Google. Because the warrant will be served on Google who will then compile the

requested records at a time convenient to it, reasonable cause exists to permit the execution of

the requested warrant at any time in the day or night.

                                                         Respectfully submitted,



                                                         Ryder Burp
                                                         Special Agent
                                                         HSI Oklahoma City
       Subscribed and sworn to beforejne on                     ly                  ,2020


       HONORABLE SHON T. ERWIN
       UNITED STATES MAGISTRATE JUDGE

                                                   16
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                                    ATTACHMENT A


                                 Property to Be Searched

      This warrant applies to information associated with tyjross28@gmail.com that is stored at

the premises owned, maintained, controlled, or operated by Google LLC, a company

headquartered at 1600 Amphitheatre Parkway, Mountain View, CA 94043.
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                                       ATTACHMENT B


                                 Particular Things to be Seized

                Information to be disclosed by Google LLC(the "Provider")

       To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, regardless of whether such information is located within or

outside ofthe United States, and including any emails, records, files, logs, or information that has

been deleted but is still available to the Provider, or has been preserved pursuant to requests made

under 18 U.S.C. § 2703(f) on September 7, 2018 and June 3, 2020, the Provider is required to

disclose the following information to the government for each account or identifier listed in

Attachment A:


       a.      The contents of all emails associated with the accounts from March 4,2016 to June

2,2020,including stored or preserved copies ofemails sent to and from the accounts, draft emails,

the source and destination addresses associated with each email, the date and time at which each

email was sent, and the size and length of each email;

       b.      All records or other information regarding the identification of the accounts, to

include full name, physical address, telephone numbers and other identifiers, records of session

times and durations, the date on which the accounts were created, the length of service, the IP

address used to register the accounts, log-in IP addresses associated with session times and dates,

account status, alternative email addresses provided during registration, methods of connecting,

log files, and means and source of payment(including any credit or bank account number);

       c.      The types of service utilized;

       d.      All records or other information stored by an individual using the accounts,

including address books, contact and buddy lists, calendar data, pictures, and files; and
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       e.       All records pertaining to communications between the Provider and any person

regarding the accounts, including contacts with support services and records of actions taken.

The Provider is hereby ordered to disclose the above information to the government within 10 days

of issuance of this warrant.


       f.       Notwithstanding Title 18, United States Code, Section 2252A, Google may

disclose responsive data, if any, by delivering encrypted files through Google's Law Enforcement

Request System(LERS)or via a mailing/shipping service provider, such as FedEx, United Parcel

Service(UPS), or the United States Postal Service.

                          Information to be seized by the government

       All information described above in Section I that constitutes fruits, contraband, evidence,

and instrumentalities of violations of title 18, U.S.C., §§ 2252 and 2252A, those violations

involving Tyler ROSS,tyjross28@gmail.com, and occurring after March 4, 2016, including, for

each account or identifier listed on Attachment A,information pertaining to the following matters:

            (a) All images of child pornography and child erotica and written communications

                regarding child pornography and child erotica and all communications with minors.

                Any evidence indicating how and when the email account was accessed or used, to

                determine the geographic and chronological context of account access, use, and

                events relating to the crime under investigation and to the email account owner;

            (b) Evidence indicating the email account owner's state of mind as it relates to the

                crime under investigation;

            (c) The identity of the person(s) who created or used the email account, including

                records that help reveal the whereabouts of such person(s).
